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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


         In re:                                          Chapter 11

         WOODBRIDGE GROUP OF COMPANIES, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         215 NORTH 12TH STREET, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H31 ADDISON PARK HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ADDISON PARK INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M11 ANCHORPOINT HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX

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         In re:                                          Chapter 11

         ANCHORPOINT INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H32 ARBORVITAE HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ARBORVITAE INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M26 ARCHIVOLT HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ARCHIVOLT INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H2 ARLINGTON RIDGE HOLDING COMPANY,             Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ARLINGTON RIDGE INVESTMENTS, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M19 ARROWPOINT HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ARROWPOINT INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H58 BALEROY HOLDING COMPANY, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         BALEROY INVESTMENTS, LLC,                       Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BASSWOOD HOLDING, LLC,                          Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         H13 BAY VILLAGE HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BAY VILLAGE INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H15 BEAR BROOK HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         BEAR BROOK INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H46 BEECH CREEK HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BEECH CREEK INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H70 BISHOP WHITE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BISHOP WHITE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H53 BLACK BASS HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BLACK BASS INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         H28 BLACK LOCUST HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BLACK LOCUST INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H20 BLUFF POINT HOLDING COMPANY, LLC,           Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         BLUFF POINT INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H49 BOWMAN HOLDING COMPANY, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BOWMAN INVESTMENTS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         M27 BRISE SOLEIL HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BRISE SOLEIL INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H40 BRAMLEY HOLDING COMPANY, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BRAMLEY INVESTMENTS, LLC,                       Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M28 BROADSANDS HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROADSANDS INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         M29 BRYNDERWEN HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         BRYNDERWEN INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M13 CABLESTAY HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CABLESTAY INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M31 CANNINGTON HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CANNINGTON INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         CARBONDALE DOOCY, LLC,                          Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN LOT A-5, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN LOT D-22, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN LOT E-24, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN LOT GV-13, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         CARBONDALE GLEN LOT SD-23, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN LOT SD-14, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN MESA LOT 19, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN RIVER MESA, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN SUNDANCE PONDS,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         CARBONDALE GLEN SWEETGRASS VISTA,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE SPRUCE 101, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE SUNDANCE LOT 15, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE SUNDANCE LOT 16, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M53 CASTLE PINES HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         CASTLE PINES INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M25 CENTERSHOT HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CENTERSHOT INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M76 CHAPLIN HOLDING COMPANY, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CHAPLIN INVESTMENTS, LLC,                       Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M79 CHESTNUT COMPANY, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CHESTNUT INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H5 CHESTNUT RIDGE HOLDING COMPANY,              Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CHESTNUT RIDGE INVESTMENTS, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M45 CLOVER BASIN HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         CLOVER BASIN INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M51 COFFEE CREEK HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         COFFEE CREEK INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H56 CRAVEN HOLDING COMPANY, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CRAVEN INVESTMENTS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M14 CROSSBEAM HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CROSSBEAM INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M63 CROWFIELD HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CROWFIELD INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CRYSTAL VALLEY HOLDINGS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M92 CRYSTAL WOODS HOLDING COMPANY,              Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CRYSTAL WOODS INVESTMENTS, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         CUCO SETTLEMENT, LLC,                           Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M72 DALEVILLE HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DALEVILLE INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M39 DERBYSHIRE HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DERBYSHIRE INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H76 DIAMOND COVE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DIAMOND COVE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H14 DIXVILLE NOTCH HOLDING COMPANY,             Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         DIXVILLE NOTCH INVESTMENTS, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H7 DOGWOOD VALLEY HOLDING                       Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DOGWOOD VALLEY INVESTMENTS, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M32 DOLLIS BROOK HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DOLLIS BROOK INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M9 DONNINGTON HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DONNINGTON INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M15 DOUBLELEAF HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DOUBLELEAF INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M22 DRAWSPAN HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         DRAWSPAN INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M71 ELDREDGE HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ELDREDGE INVESTMENT, LLC,                       Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H25 ELSTAR HOLDING COMPANY, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ELSTAR INVESTMENTS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H19 EMERALD LAKE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         EMERALD LAKE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M24 FIELDPOINT HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         FIELDPOINT INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M88 FRANCONIA NOTCH HOLDING                     Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         FRANCONIA NOTCH INVESTMENTS, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M10 GATESHEAD HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GATESHEAD INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M85 GLENN RICH HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GLENN RICH INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M93 GOOSE ROCKS HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GOOSE ROCKS INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M68 GOOSEBROOK HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GOOSEBROOK INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H68 GRAEME PARK HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX



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         In re:                                          Chapter 11

         GRAEME PARK INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H61 GRAND MIDWAY HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GRAND MIDWAY INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H26 GRAVENSTEIN HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GRAVENSTEIN INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H44 GREEN GABLES HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GREEN GABLES INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H27 GRENADIER HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GRENADIER INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H41 GRUMBLETHORPE HOLDING COMPANY,              Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         GRUMBLETHORPE INVESTMENTS, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M87 HACKMATACK HILLS HOLDING                    Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HACKMATACK INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M56 HAFFENBURG HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HAFFENBURG INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H39 HARALSON HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HARALSON INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M33 HARRINGWORTH HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HARRINGWORTH INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M80 HAZELPOINT HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         HAZELPOINT INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H66 HEILBRON MANOR HOLDING                      Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HEILBRON MANOR INVESTMENTS, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HOLLYLINE HOLDINGS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HOLLYLINE OWNERS, LLC,                          Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H35 HORNBEAM HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HORNBEAM INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H37 IDARED HOLDING COMPANY, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         IDARED INVESTMENTS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H74 IMPERIAL ALY HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         IMPERIAL ALY INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M99 IRONSIDES HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         IRONSIDES INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H43 LENNI HEIGHTS HOLDING COMPANY,              Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         LENNI HEIGHTS INVESTMENTS, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H6 LILAC MEADOW HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         LILAC MEADOW INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M17 LINCOLNSHIRE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         LINCOLNSHIRE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M54 LONETREE HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         LONETREE INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M40 LONGBOURN HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         LONGBOURN INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M73 MASON RUN HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MASON RUN INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H8 MELODY LANE HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MELODY LANE INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M90 MERRIMACK VALLEY HOLDING                    Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MERRIMACK VALLEY INVESTMENTS, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M61 MINEOLA HOLDING COMPANY, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         MINEOLA INVESTMENTS, LLC,                       Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H16 MONADNOCK HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MONADNOCK INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H60 MORAVIAN HOLDING COMPANY LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MORAVIAN INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M67 MOUNTAIN SPRING HOLDING                     Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MOUNTAIN SPRING INVESTMENTS, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M83 MT. HOLLY HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MT. HOLLY INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H38 MUTSU HOLDING COMPANY, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         MUTSU INVESTMENTS, LLC,                         Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M91 NEWVILLE HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         NEWVILLE INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         H51 OLD CARBON HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         OLD CARBON INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H55 OLD MAITLAND HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         OLD MAITLAND INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M46 OWL RIDGE HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         OWL RIDGE INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H22 PAPIROVKA HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         PAPIROVKA INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H4 PAWTUCKAWAY HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         PAWTUCKAWAY INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M38 PEMBERLEY HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         PEMBERLEY INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H17 PEMIGEWASSET HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         PEMIGEWASSET INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M95 PEPPERWOOD HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         PEPPERWOOD INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         M70 PINNEY HOLDING COMPANY, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         PINNEY INVESTMENTS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H23 PINOVA HOLDING COMPANY, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         PINOVA INVESTMENTS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M34 QUARTERPOST HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         QUARTERPOST INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M97 RED WOODS HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         RED WOODS INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         M57 RIDGECREST HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         RIDGECREST INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M75 RILEY CREEK HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         RILEY CREEK INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H59 RISING SUN HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         RISING SUN INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M62 SAGEBROOK HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SAGEBROOK INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H54 SEVEN STARS HOLDING COMPANY, LLC,           Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SEVEN STARS INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H11 SILK CITY HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SILK CITY INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H30 SILVER MAPLE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         SILVER MAPLE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SILVERLEAF FUNDING, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M41 SILVERTHORNE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SILVERTHORNE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M36 SPRINGLINE HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         SPRINGLINE INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         M49 SQUARETOP HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SQUARETOP INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H24 STAYMAN HOLDING COMPANY, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         STAYMAN INVESTMENTS, LLC,                       Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M86 STEELE HILL HOLDING COMPANY, LLC,           Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         STEELE HILL INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         M5 STEPSTONE HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         STEPSTONE INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H9 STRAWBERRY FIELDS HOLDING                    Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         STRAWBERRY FIELDS INVESTMENTS, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H36 STURMER PIPPIN HOLDING COMPANY,             Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         STURMER PIPPIN INVESTMENTS, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H21 SUMMERFREE HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SUMMERFREE INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H47 SUMMIT CUT HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SUMMIT CUT INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H65 THORNBURY FARM HOLDING                      Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         THORNBURY FARM INVESTMENTS, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M60 THUNDER BASIN HOLDING COMPANY,              Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         THUNDER BASIN INVESTMENTS, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M37 TOPCHORD HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         TOPCHORD INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M48 VALLECITO HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         VALLECITO INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M74 VARGA HOLDING COMPANY, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         VARGA INVESTMENTS, LLC,                         Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M50 WETTERHORN HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WETTERHORN INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         H12 WHITE BIRCH HOLDING COMPANY, LLC,           Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         WHITE BIRCH INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M43 WHITE DOME HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         WHITE DOME INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         WHITEACRE FUNDING, LLC,                         Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M44 WILDERNEST HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         WILDERNEST INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H52 WILLOW GROVE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WILLOW GROVE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M94 WINDING ROAD HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         WINDING ROAD INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A




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         In re:                                          Chapter 11

         WMF MANAGEMENT, LLC,                            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE CAPITAL INVESTMENTS, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE COMMERCIAL BRIDGE LOAN               Case No. 17-_____ (___)
         FUND 1, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE COMMERCIAL BRIDGE LOAN               Case No. 17-_____ (___)
         FUND 2, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         WOODBRIDGE MEZZANINE FUND 1, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE MORTGAGE INVESTMENT                  Case No. 17-_____ (___)
         FUND 1, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE MORTGAGE INVESTMENT                  Case No. 17-_____ (___)
         FUND 2, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE MORTGAGE INVESTMENT                  Case No. 17-_____ (___)
         FUND 3, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE MORTGAGE INVESTMENT                  Case No. 17-_____ (___)
         FUND 3A, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


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         In re:                                                     Chapter 11

         WOODBRIDGE MORTGAGE INVESTMENT                             Case No. 17-_____ (___)
         FUND 4, LLC,

                                 Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                                     Chapter 11

         WOODBRIDGE STRUCTURED FUNDING, LLC,                        Case No. 17-_____ (___)

                                 Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                                     Chapter 11

         H29 ZESTAR HOLDING COMPANY, LLC,                           Case No. 17-_____ (___)

                                 Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                                     Chapter 11

         ZESTAR INVESTMENTS, LLC,                                   Case No. 17-_____ (___)

                                 Debtor.

         Tax I.D. No. XX-XXXXXXX


                  DEBTORS’ MOTION FOR ENTRY OF AN ORDER DIRECTING THE JOINT
                       ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

                   Woodbridge Group of Companies, LLC and its affiliated debtors and debtors in

         possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) hereby move the

         Court (this “Motion”) for the entry of an order, substantially in the form attached hereto as

         Exhibit A, directing the joint administration of the Debtors’ chapter 11 cases. In support of this


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         Motion, the Debtors submit the Declaration of Lawrence R. Perkins in Support of the Debtors’

         Chapter 11 Petitions and Requests for First Day Relief (the “First Day Declaration”), filed

         substantially contemporaneous herewith. In further support of this Motion, the Debtors

         respectfully state as follows:

                                          JURISDICTION AND VENUE

                1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(b) and

         157 and the Amended Standing Order of Reference from the United States District Court for the

         District of Delaware dated as of February 29, 2012. This is a core proceeding pursuant to

         28 U.S.C. § 157(b), and pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice

         and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

         Rules”), the Debtors consent to the entry of a final order by the Court in connection with this

         Motion to the extent that it is later determined that the Court, absent consent of the parties,

         cannot enter final orders or judgments in connection herewith consistent with Article III of the

         United States Constitution. Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and

         1409. The statutory and legal predicates for the relief requested herein are section 105(a) of title

         11 of the United States Code (the “Bankruptcy Code”), Rule 1015(b) of the Federal Rules of

         Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rules 1015-1 and 9013-1(m).

                                                  BACKGROUND

                2.      On the date hereof (the “Petition Date”), each of the Debtors commenced a

         voluntary case under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”).

         Pursuant to sections 1107(a) and 1108 of the Bankruptcy Code, the Debtors are continuing to

         manage their financial affairs as debtors in possession. No trustee, examiner, or official

         committee of unsecured creditors has been appointed in the Chapter 11 Cases.

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                  3.       Additional information regarding the Debtors’ history and business operations,

         capital structure and primary secured indebtedness, and the events leading up to the

         commencement of the Chapter 11 Cases can be found in the First Day Declaration.1

                                                      RELIEF REQUESTED

                  4.       By this Motion, the Debtors seek an order, pursuant to section 105(a) of the

         Bankruptcy Code, Bankruptcy Rule 1015(b), and Local Rules 1015-1 and 9013-1(m), directing

         the joint administration of the Chapter 11 Cases for procedural purposes only. Specifically, the

         Debtors request that the Clerk of the United States Bankruptcy Court for the District of Delaware

         (the “Clerk of the Court”) maintain one file and one docket for all of the jointly administered

         cases under the case number of Woodbridge Group of Companies, LLC and that the Clerk of the

         Court administer the cases under a consolidated caption, as follows:

                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                                   Chapter 11

         WOODBRIDGE GROUP OF COMPANIES, LLC,                                      Case No. 17-_____ (___)
         et al.,1
                                                                                  (Jointly Administered)
                                     Debtors.

         1
                  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
         The mailing address for Woodbridge Group of Companies, LLC is 14225 Ventura Boulevard #100, Sherman Oaks,
         California 91423. Due to the large number of debtors in these cases, for which the Debtors have requested joint
         administration, a complete list of the Debtors, the last four digits of their federal tax identification numbers, and their
         addresses are not provided herein. A complete list of such information may be obtained on the website of the
         Debtors’ proposed noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
         proposed undersigned counsel for the Debtors.




         1
                  Capitalized terms used herein, but not otherwise defined, have the meanings given to them in the First Day
         Declaration.
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                5.     In addition, the Debtors request that a docket entry, substantially similar to the

         following, be made on the docket of each of the Debtors’ Chapter 11 Cases (except that of

         Woodbridge Group of Companies, LLC):

                       An order has been entered in this case directing the procedural
                       consolidation and joint administration of the chapter 11 cases of
                       Woodbridge Group of Companies, LLC (3603); 215 North 12th
                       Street, LLC (3105); H31 Addison Park Holding Company, LLC
                       (0775); Addison Park Investments, LLC (5888); M11 Anchorpoint
                       Holding Company, LLC (1946); Anchorpoint Investments, LLC
                       (5530); H32 Arborvitae Holding Company, LLC (7525);
                       Arborvitae Investments, LLC (3426); M26 Archivolt Holding
                       Company, LLC (6436); Archivolt Investments, LLC (8542); H2
                       Arlington Ridge Holding Company, LLC (9930); Arlington Ridge
                       Investments, LLC (8879); M19 Arrowpoint Holding Company,
                       LLC (4378); Arrowpoint Investments, LLC (7069); H58 Baleroy
                       Holding Company, LLC (1881); Baleroy Investments, LLC
                       (9851); Basswood Holding, LLC (N/A); H13 Bay Village Holding
                       Company, LLC (8917); Bay Village Investments, LLC (3221);
                       H15 Bear Brook Holding Company, LLC (0030); Bear Brook
                       Investments, LLC (3387); H46 Beech Creek Holding Company,
                       LLC (0050); Beech Creek Investments, LLC (0963); H70 Bishop
                       White Holding Company, LLC (6161); Bishop White Investments,
                       LLC (8784); H53 Black Bass Holding Company, LLC (3505);
                       Black Bass Investments, LLC (N/A); H28 Black Locust Holding
                       Company, LLC (6941); Black Locust Investments, LLC (3159);
                       H20 Bluff Point Holding Company, LLC (7342); Bluff Point
                       Investments, LLC (6406); H49 Bowman Holding Company, LLC
                       (1694); Bowman Investments, LLC (N/A); H40 Bramley Holding
                       Company, LLC (7162); Bramley Investments, LLC (9020); M27
                       Brise Soleil Holding Company, LLC (2821); Brise Soleil
                       Investments, LLC (9998); M28 Broadsands Holding Company,
                       LLC (9424); Broadsands Investments, LLC (N/A); M29
                       Brynderwen Holding Company, LLC (0685); Brynderwen
                       Investments, LLC (6305); M13 Cablestay Holding Company, LLC
                       (9809); Cablestay Investments, LLC (3442); M31 Cannington
                       Holding Company, LLC (0667); Cannington Investments, LLC
                       (4303); Carbondale Doocy, LLC (3616); Carbondale Glen Lot A-
                       5, LLC (0728); Carbondale Glen Lot D-22, LLC (1907);
                       Carbondale Glen Lot E-24, LLC (4987); Carbondale Glen Lot GV-
                       13, LLC (6075); Carbondale Glen Lot SD-23, LLC (4775);
                       Carbondale Glen Lot SD-14, LLC (5515); Carbondale Glen Mesa
                       Lot 19, LLC (6376); Carbondale Glen River Mesa, LLC (6926);
                       Carbondale Glen Sundance Ponds, LLC (0113); Carbondale Glen

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                 Sweetgrass Vista, LLC (7510); Carbondale Spruce 101, LLC
                 (6126); Carbondale Sundance Lot 15, LLC (1131); Carbondale
                 Sundance Lot 16, LLC (0786); M53 Castle Pines Holding
                 Company, LLC (3398); Castle Pines Investments, LLC (4123);
                 M25 Centershot Holding Company, LLC (2128); Centershot
                 Investments, LLC (9391); M76 Chaplin Holding Company, LLC
                 (9267); Chaplin Investments, LLC (3215); M79 Chestnut
                 Company, LLC (0125); Chestnut Investments, LLC (9809); H5
                 Chestnut Ridge Holding Company, LLC (5244); Chestnut Ridge
                 Investments, LLC (3815); M45 Clover Basin Holding Company,
                 LLC (6677); Clover Basin Investments, LLC (8470); M51 Coffee
                 Creek Holding Company, LLC (2745); Coffee Creek Investments,
                 LLC (9365); H56 Craven Holding Company, LLC (1344); Craven
                 Investments, LLC (0994); M14 Crossbeam Holding Company,
                 LLC (3109); Crossbeam Investments, LLC (2940); M63 Crowfield
                 Holding Company, LLC (7092); Crowfield Investments, LLC
                 (4030); Crystal Valley Holdings, LLC (4942); M92 Crystal Woods
                 Holding Company, LLC (5806); Crystal Woods Investments, LLC
                 (N/A); Cuco Settlement, LLC (1418); M72 Daleville Holding
                 Company, LLC (8670); Daleville Investments, LLC (2915); M39
                 Derbyshire Holding Company, LLC (6509); Derbyshire
                 Investments, LLC (3735); H76 Diamond Cove Holding Company,
                 LLC (0315); Diamond Cove Investments, LLC (9809); H14
                 Dixville Notch Holding Company, LLC (5633); Dixville Notch
                 Investments, LLC (0257); H7 Dogwood Valley Holding Company,
                 LLC (7002); Dogwood Valley Investments, LLC (5898); M32
                 Dollis Brook Holding Company, LLC (2873); Dollis Brook
                 Investments, LLC (4042); M9 Donnington Holding Company,
                 LLC (7114); Donnington Investments, LLC (2744); M15
                 Doubleleaf Holding Company, LLC (9523); Doubleleaf
                 Investments, LLC (7075); M22 Drawspan Holding Company, LLC
                 (0325); Drawspan Investments, LLC (5457); M71 Eldredge
                 Holding Company, LLC (6338); Eldredge Investment, LLC
                 (1579); H25 Elstar Holding Company, LLC (3243); Elstar
                 Investments, LLC (3731); H19 Emerald Lake Holding Company,
                 LLC (1570); Emerald Lake Investments, LLC (2276); M24
                 Fieldpoint Holding Company, LLC (6210); Fieldpoint
                 Investments, LLC (2405); M88 Franconia Notch Holding
                 Company, LLC (8184); Franconia Notch Investments, LLC
                 (7325); M10 Gateshead Holding Company, LLC (8924);
                 Gateshead Investments, LLC (1537); M85 Glenn Rich Holding
                 Company, LLC (7844); Glenn Rich Investments, LLC (7350);
                 M93 Goose Rocks Holding Company, LLC (5189); Goose Rocks
                 Investments, LLC (5453); M68 Goosebrook Holding Company,
                 LLC (9434); Goosebrook Investments, LLC (3737); H68 Graeme
                 Park Holding Company, LLC (2736); Graeme Park Investments,

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                 LLC (8869); H61 Grand Midway Holding Company, LLC (4835);
                 Grand Midway Investments, LLC (1671); H26 Gravenstein
                 Holding Company, LLC (4323); Gravenstein Investments, LLC
                 (2195); H44 Green Gables Holding Company, LLC (2248); Green
                 Gables Investments, LLC (1347); H27 Grenadier Holding
                 Company, LLC (2590); Grenadier Investments, LLC (1772); H41
                 Grumblethorpe Holding Company, LLC (0106); Grumblethorpe
                 Investments, LLC (9318); M87 Hackmatack Hills Holding
                 Company, LLC (9583); Hackmatack Investments, LLC (8293);
                 M56 Haffenburg Holding Company, LLC (3780); Haffenburg
                 Investments, LLC (1472); H39 Haralson Holding Company, LLC
                 (0886); Haralson Investments, LLC (8946); M33 Harringworth
                 Holding Company, LLC (7830); Harringworth Investments, LLC
                 (5770); M80 Hazelpoint Holding Company, LLC (2703);
                 Hazelpoint Investments, LLC (3824); H66 Heilbron Manor
                 Holding Company, LLC (7245); Heilbron Manor Investments,
                 LLC (7818); Hollyline Holdings, LLC (4412); Hollyline Owners,
                 LLC (2556); H35 Hornbeam Holding Company, LLC (5290);
                 Hornbeam Investments, LLC (9532); H37 Idared Holding
                 Company, LLC (3378); Idared Investments, LLC (7643); H74
                 Imperial Aly Holding Company, LLC (7948); Imperial Aly
                 Investments, LLC (7940); M99 Ironsides Holding Company, LLC
                 (8261); Ironsides Investments, LLC (2351); H43 Lenni Heights
                 Holding Company, LLC (7951); Lenni Heights Investments, LLC
                 (6691); H6 Lilac Meadow Holding Company, LLC (4921); Lilac
                 Meadow Investments, LLC (4000); M17 Lincolnshire Holding
                 Company, LLC (9895); Lincolnshire Investments, LLC (0533);
                 M54 Lonetree Holding Company, LLC (2356); Lonetree
                 Investments, LLC (5194); M40 Longbourn Holding Company,
                 LLC (3893); Longbourn Investments, LLC (2888); M73 Mason
                 Run Holding Company, LLC (5691); Mason Run Investments,
                 LLC (0644); H8 Melody Lane Holding Company, LLC (4011);
                 Melody Lane Investments, LLC (0252); M90 Merrimack Valley
                 Holding Company, LLC (0547); Merrimack Valley Investments,
                 LLC (7307); M61 Mineola Holding Company, LLC (8989);
                 Mineola Investments, LLC (9029); H16 Monadnock Holding
                 Company, LLC (3391); Monadnock Investments, LLC (3513);
                 H60 Moravian Holding Company LLC (3179); Moravian
                 Investments, LLC (6854); M67 Mountain Spring Holding
                 Company, LLC (5385); Mountain Spring Investments, LLC
                 (3294); M83 Mt. Holly Holding Company, LLC (7897); Mt. Holly
                 Investments, LLC (7337); H38 Mutsu Holding Company, LLC
                 (5889); Mutsu Investments, LLC (8020); M91 Newville Holding
                 Company, LLC (N/A); Newville Investments, LLC (N/A); H51
                 Old Carbon Holding Company, LLC (1911); Old Carbon
                 Investments, LLC (6858); H55 Old Maitland Holding Company,

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                 LLC (3887); Old Maitland Investments, LLC (9114); M46 Owl
                 Ridge Holding Company, LLC (0546); Owl Ridge Investments,
                 LLC (8792); H22 Papirovka Holding Company, LLC (8821);
                 Papirovka Investments, LLC (5472); H4 Pawtuckaway Holding
                 Company, LLC (9299); Pawtuckaway Investments, LLC (3152);
                 M38 Pemberley Holding Company, LLC (1154); Pemberley
                 Investments, LLC (9040); H17 Pemigewasset Holding Company,
                 LLC (9026); Pemigewasset Investments, LLC (6827); M95
                 Pepperwood Holding Company, LLC (N/A); Pepperwood
                 Investments, LLC (N/A); M70 Pinney Holding Company, LLC
                 (1495); Pinney Investments, LLC (0132); H23 Pinova Holding
                 Company, LLC (0307); Pinova Investments, LLC (3468); M34
                 Quarterpost Holding Company, LLC (2780); Quarterpost
                 Investments, LLC (4802); M97 Red Woods Holding Company,
                 LLC (2190); Red Woods Investments, LLC (N/A); M57
                 Ridgecrest Holding Company, LLC (2759); Ridgecrest
                 Investments, LLC (9696); M75 Riley Creek Holding Company,
                 LLC (7226); Riley Creek Investments, LLC (0214); H59 Rising
                 Sun Holding Company, LLC (5554); Rising Sun Investments, LLC
                 (6846); M62 Sagebrook Holding Company, LLC (5717);
                 Sagebrook Investments, LLC (1464); H54 Seven Stars Holding
                 Company, LLC (8432); Seven Stars Investments, LLC (6994);
                 H11 Silk City Holding Company, LLC (5002); Silk City
                 Investments, LLC (1465); H30 Silver Maple Holding Company,
                 LLC (9953); Silver Maple Investments, LLC (9699); Silverleaf
                 Funding, LLC (9877); M41 Silverthorne Holding Company, LLC
                 (6930); Silverthorne Investments, LLC (8840); M36 Springline
                 Holding Company, LLC (0908); Springline Investments, LLC
                 (N/A); M49 Squaretop Holding Company, LLC (4325); Squaretop
                 Investments, LLC (4466); H24 Stayman Holding Company, LLC
                 (0527); Stayman Investments, LLC (9090); M86 Steele Hill
                 Holding Company, LLC (8312); Steele Hill Investments, LLC
                 (N/A); M5 Stepstone Holding Company, LLC (1473); Stepstone
                 Investments, LLC (7231); H9 Strawberry Fields Holding
                 Company, LLC (4464); Strawberry Fields Investments, LLC
                 (0355); H36 Sturmer Pippin Holding Company, LLC (1256);
                 Sturmer Pippin Investments, LLC (6686); H21 Summerfree
                 Holding Company, LLC (4453); Summerfree Investments, LLC
                 (1496); H47 Summit Cut Holding Company, LLC (6912); Summit
                 Cut Investments, LLC (0876); H65 Thornbury Farm Holding
                 Company, LLC (7454); Thornbury Farm Investments, LLC
                 (3083); M60 Thunder Basin Holding Company, LLC (4560);
                 Thunder Basin Investments, LLC (7057); M37 Topchord Holding
                 Company, LLC (2131); Topchord Investments, LLC (4007); M48
                 Vallecito Holding Company, LLC (0739); Vallecito Investments,
                 LLC (8552); M74 Varga Holding Company, LLC (2322); Varga

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                         Investments, LLC (7136); M50 Wetterhorn Holding Company,
                         LLC (9936); Wetterhorn Investments, LLC (N/A); H12 White
                         Birch Holding Company, LLC (9593); White Birch Investments,
                         LLC (1555); M43 White Dome Holding Company, LLC (N/A);
                         White Dome Investments, LLC (N/A); Whiteacre Funding, LLC
                         (2998); M44 Wildernest Holding Company, LLC (7546);
                         Wildernest Investments, LLC (1375); H52 Willow Grove Holding
                         Company, LLC (2112); Willow Grove Investments, LLC (6588);
                         M94 Winding Road Holding Company, LLC (N/A); Winding
                         Road Investments, LLC (N/A); WMF Management, LLC (9238);
                         Woodbridge Capital Investments, LLC (6081); Woodbridge
                         Commercial Bridge Loan Fund 1, LLC (8318); Woodbridge
                         Commercial Bridge Loan Fund 2, LLC (3649); Woodbridge
                         Investments, LLC (8557); Woodbridge Mezzanine Fund 1, LLC
                         (2753); Woodbridge Mortgage Investment Fund 1, LLC (0172);
                         Woodbridge Mortgage Investment Fund 2, LLC (7030);
                         Woodbridge Mortgage Investment Fund 3, LLC (9618);
                         Woodbridge Mortgage Investment Fund 3A, LLC (8525);
                         Woodbridge Mortgage Investment Fund 4, LLC (1203);
                         Woodbridge Structured Funding, LLC (3593); H29 Zestar Holding
                         Company, LLC (4093); Zestar Investments, LLC (3233). The
                         docket in the chapter 11 case of Woodbridge Group of
                         Companies, LLC, Case No. 17-_____ (___), should be
                         consulted for all matters affecting this case.


                 6.      In addition, the Debtors request, pursuant to Local Rule 1001-1(c),2 a limited

         modification of Local Rule 5005-4, to the extent the Court determines any such modification is

         necessary, to allow the Debtors to deviate from the normal course electronic filing procedure for

         their chapter 11 petitions (the “Petitions”). Local Rule 5005-4 states, “[A]ll petitions . . .

         required to be filed with the Court must be electronically filed . . . .” Del. Bankr. L.R. 5005-4.

         However, pursuant to Local Rule 5001-2, when the Clerk’s office is closed, papers not filed

         electronically may be filed with the Court by time stamping them and depositing them in the

         night depository. Del. Bankr. L.R. 5001-2. Due to the large number of debtors in these Chapter

         11 Cases, the amount of time it would take to electronically file all of the Petitions, and the need

         2
                 Local Rule 1001-1(c) provides, “The application of these Local Rules in any case or proceeding may be
         modified by the Court in the interest of justice.” Del. Bankr. L.R. 1001-1(c).

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         to commence these cases during a time when the Clerk’s office was closed, the Debtors

         commenced these Chapter 11 Cases by first filing paper copies of the Petitions, and will

         subsequently file the Petitions electronically. Because of the procedure the Debtors utilized,

         paper filing followed by electronic filing, the Debtors believe they are in compliance with Local

         Rule 5001-2 and 5005-4. However, in light of the deviation from the standard procedure of

         filing the Petitions electronically first, the Debtors seek the requested limited modification of

         Local Rule 5005-4 out of an abundance of caution.

                                               BASIS FOR RELIEF

                7.      Pursuant to Bankruptcy Rule 1015(b), if two or more petitions are pending in the

         same court by or against a debtor and an affiliate, “the court may order a joint administration of

         the estates.” Fed R. Bankr. P. 1015(b). Section 105(a) of the Bankruptcy Code also provides the

         Court with the power to “issue any order, process, or judgment that is necessary or appropriate to

         carry out the provisions of [the Bankruptcy Code].” Further, Local Rule 1015-1 provides

         additional authority for the Court to order joint administration of chapter 11 cases upon the filing

         of a motion supported by a declaration establishing that joint administration of two or more

         pending cases will ease the administrative burden of the Court and the parties.

                8.      As set forth in the First Day Declaration, the Debtors’ operations are

         interconnected and co-dependent, and share many of the same creditors and other parties in

         interest. Given the commercial and corporate relationships among the Debtors, joint

         administration of the Chapter 11 Cases will provide administrative convenience without harming

         the substantive rights of any party in interest. Many of the motions, hearings, and orders that

         will arise in the Chapter 11 Cases will affect each and every Debtor. Thus, the entry of an order

         directing joint administration of these cases will reduce fees and costs by, for example, avoiding


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         duplicative filings and objections. Moreover, joint administration will also simplify supervision

         of the administrative aspects of these cases by the Office of the United States Trustee for the

         District of Delaware and allow all parties in interest to monitor the Chapter 11 Cases with greater

         ease and efficiency.

                 9.      Joint administration of the Chapter 11 Cases will not prejudice or adversely affect

         the rights of the Debtors’ creditors, because the Debtors seek only administrative, not

         substantive, consolidation of their estates. Parties in interest will not be harmed by the relief

         requested, but, instead, will benefit from the cost reductions associated with the joint

         administration of these cases.

                 10.     For these reasons, the Debtors respectfully submit that the joint administration of

         these cases is appropriate and is in the best interests of the Debtors, their estates, their creditors,

         and all other parties in interest, and therefore this Motion should be granted.

                                                        NOTICE

                 11.     The Debtors have provided notice of this Motion to: (i) the Office of the United

         States Trustee for the District of Delaware; (ii) the United States Securities and Exchange

         Commission; (iii) the Office of the United States Attorney General for the District of Delaware;

         (iv) the Internal Revenue Service; (v) the DIP lender and counsel thereto; (vi) the Debtors’ cash

         management banks; and (vii) those creditors holding the thirty (30) largest unsecured claims

         against the Debtors’ estates (on a consolidated basis). Notice of this Motion and any order

         entered on this Motion will be served as required by Local Rule 9013-1(m). In light of the

         nature of the relief requested herein, the Debtors submit that no other or further notice is

         necessary.




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                   WHEREFORE, for the reasons set forth herein, the Debtors respectfully request that the

         Court (a) enter an order, substantially in the form attached hereto as Exhibit A, directing the joint

         administration of the Chapter 11 Cases, and (b) grant such other and further relief as is just and

         proper.

         Dated:      Wilmington, Delaware
                     December 4, 2017             /s/Ian J. Bambrick
                                                  YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                  Sean M. Beach (No. 4070)
                                                  Edmon L. Morton (No. 3856)
                                                  Ian J. Bambrick (No. 5455)
                                                  Allison S. Mielke (No. 5934)
                                                  Rodney Square
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                                                  Tel: (302) 571-6600
                                                  Fax: (302) 571-1253
                                                  Email: sbeach@ycst.com
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                                                  -and-

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                                    -and-

                                    J. Eric Wise (NY No. 3000957)
                                    Matthew K. Kelsey (NY No. 4250296)
                                    Matthew P. Porcelli (NY No. 5218979)
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                                    New York, New York 10166
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                                            mporcelli@gibsondunn.com

                                    Proposed Counsel to the Debtors and Debtors in
                                    Possession




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                                       EXHIBIT A

                                    PROPOSED ORDER




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


         In re:                                          Chapter 11

         WOODBRIDGE GROUP OF COMPANIES, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         215 NORTH 12TH STREET, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H31 ADDISON PARK HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ADDISON PARK INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M11 ANCHORPOINT HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX

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         In re:                                          Chapter 11

         ANCHORPOINT INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H32 ARBORVITAE HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ARBORVITAE INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M26 ARCHIVOLT HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ARCHIVOLT INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H2 ARLINGTON RIDGE HOLDING COMPANY,             Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ARLINGTON RIDGE INVESTMENTS, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M19 ARROWPOINT HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ARROWPOINT INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H58 BALEROY HOLDING COMPANY, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         BALEROY INVESTMENTS, LLC,                       Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BASSWOOD HOLDING, LLC,                          Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         H13 BAY VILLAGE HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BAY VILLAGE INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H15 BEAR BROOK HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         BEAR BROOK INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H46 BEECH CREEK HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BEECH CREEK INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H70 BISHOP WHITE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BISHOP WHITE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H53 BLACK BASS HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BLACK BASS INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         H28 BLACK LOCUST HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BLACK LOCUST INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H20 BLUFF POINT HOLDING COMPANY, LLC,           Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         BLUFF POINT INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H49 BOWMAN HOLDING COMPANY, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BOWMAN INVESTMENTS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         M27 BRISE SOLEIL HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BRISE SOLEIL INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H40 BRAMLEY HOLDING COMPANY, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BRAMLEY INVESTMENTS, LLC,                       Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M28 BROADSANDS HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         BROADSANDS INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         M29 BRYNDERWEN HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         BRYNDERWEN INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M13 CABLESTAY HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CABLESTAY INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M31 CANNINGTON HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CANNINGTON INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         CARBONDALE DOOCY, LLC,                          Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN LOT A-5, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN LOT D-22, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN LOT E-24, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN LOT GV-13, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         CARBONDALE GLEN LOT SD-23, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN LOT SD-14, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN MESA LOT 19, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN RIVER MESA, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE GLEN SUNDANCE PONDS,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         CARBONDALE GLEN SWEETGRASS VISTA,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE SPRUCE 101, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE SUNDANCE LOT 15, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CARBONDALE SUNDANCE LOT 16, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M53 CASTLE PINES HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         CASTLE PINES INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M25 CENTERSHOT HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CENTERSHOT INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M76 CHAPLIN HOLDING COMPANY, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CHAPLIN INVESTMENTS, LLC,                       Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M79 CHESTNUT COMPANY, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CHESTNUT INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H5 CHESTNUT RIDGE HOLDING COMPANY,              Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CHESTNUT RIDGE INVESTMENTS, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M45 CLOVER BASIN HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         CLOVER BASIN INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M51 COFFEE CREEK HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         COFFEE CREEK INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H56 CRAVEN HOLDING COMPANY, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CRAVEN INVESTMENTS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M14 CROSSBEAM HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CROSSBEAM INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M63 CROWFIELD HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CROWFIELD INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CRYSTAL VALLEY HOLDINGS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M92 CRYSTAL WOODS HOLDING COMPANY,              Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         CRYSTAL WOODS INVESTMENTS, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         CUCO SETTLEMENT, LLC,                           Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M72 DALEVILLE HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DALEVILLE INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M39 DERBYSHIRE HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DERBYSHIRE INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H76 DIAMOND COVE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DIAMOND COVE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H14 DIXVILLE NOTCH HOLDING COMPANY,             Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         DIXVILLE NOTCH INVESTMENTS, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H7 DOGWOOD VALLEY HOLDING                       Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DOGWOOD VALLEY INVESTMENTS, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M32 DOLLIS BROOK HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DOLLIS BROOK INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M9 DONNINGTON HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DONNINGTON INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M15 DOUBLELEAF HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         DOUBLELEAF INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M22 DRAWSPAN HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         DRAWSPAN INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M71 ELDREDGE HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ELDREDGE INVESTMENT, LLC,                       Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H25 ELSTAR HOLDING COMPANY, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         ELSTAR INVESTMENTS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H19 EMERALD LAKE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         EMERALD LAKE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M24 FIELDPOINT HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         FIELDPOINT INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M88 FRANCONIA NOTCH HOLDING                     Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         FRANCONIA NOTCH INVESTMENTS, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M10 GATESHEAD HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GATESHEAD INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M85 GLENN RICH HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GLENN RICH INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M93 GOOSE ROCKS HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GOOSE ROCKS INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M68 GOOSEBROOK HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GOOSEBROOK INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H68 GRAEME PARK HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX



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         In re:                                          Chapter 11

         GRAEME PARK INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H61 GRAND MIDWAY HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GRAND MIDWAY INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H26 GRAVENSTEIN HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GRAVENSTEIN INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H44 GREEN GABLES HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GREEN GABLES INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H27 GRENADIER HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         GRENADIER INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H41 GRUMBLETHORPE HOLDING COMPANY,              Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         GRUMBLETHORPE INVESTMENTS, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M87 HACKMATACK HILLS HOLDING                    Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HACKMATACK INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M56 HAFFENBURG HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HAFFENBURG INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H39 HARALSON HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HARALSON INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M33 HARRINGWORTH HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HARRINGWORTH INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M80 HAZELPOINT HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         HAZELPOINT INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H66 HEILBRON MANOR HOLDING                      Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HEILBRON MANOR INVESTMENTS, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HOLLYLINE HOLDINGS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HOLLYLINE OWNERS, LLC,                          Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H35 HORNBEAM HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         HORNBEAM INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H37 IDARED HOLDING COMPANY, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         IDARED INVESTMENTS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H74 IMPERIAL ALY HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         IMPERIAL ALY INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M99 IRONSIDES HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         IRONSIDES INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H43 LENNI HEIGHTS HOLDING COMPANY,              Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         LENNI HEIGHTS INVESTMENTS, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H6 LILAC MEADOW HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         LILAC MEADOW INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M17 LINCOLNSHIRE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         LINCOLNSHIRE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M54 LONETREE HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         LONETREE INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M40 LONGBOURN HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         LONGBOURN INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M73 MASON RUN HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MASON RUN INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H8 MELODY LANE HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MELODY LANE INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M90 MERRIMACK VALLEY HOLDING                    Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MERRIMACK VALLEY INVESTMENTS, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M61 MINEOLA HOLDING COMPANY, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         MINEOLA INVESTMENTS, LLC,                       Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H16 MONADNOCK HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MONADNOCK INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H60 MORAVIAN HOLDING COMPANY LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MORAVIAN INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M67 MOUNTAIN SPRING HOLDING                     Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MOUNTAIN SPRING INVESTMENTS, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M83 MT. HOLLY HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         MT. HOLLY INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H38 MUTSU HOLDING COMPANY, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         MUTSU INVESTMENTS, LLC,                         Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M91 NEWVILLE HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         NEWVILLE INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         H51 OLD CARBON HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         OLD CARBON INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H55 OLD MAITLAND HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         OLD MAITLAND INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M46 OWL RIDGE HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         OWL RIDGE INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H22 PAPIROVKA HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         PAPIROVKA INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H4 PAWTUCKAWAY HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         PAWTUCKAWAY INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M38 PEMBERLEY HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         PEMBERLEY INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H17 PEMIGEWASSET HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         PEMIGEWASSET INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M95 PEPPERWOOD HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         PEPPERWOOD INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         M70 PINNEY HOLDING COMPANY, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         PINNEY INVESTMENTS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H23 PINOVA HOLDING COMPANY, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         PINOVA INVESTMENTS, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M34 QUARTERPOST HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         QUARTERPOST INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M97 RED WOODS HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         RED WOODS INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         M57 RIDGECREST HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         RIDGECREST INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M75 RILEY CREEK HOLDING COMPANY,                Case No. 17-_____ (___)
         LLC,

                             Debtor.

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         In re:                                          Chapter 11

         RILEY CREEK INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H59 RISING SUN HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         RISING SUN INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M62 SAGEBROOK HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SAGEBROOK INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H54 SEVEN STARS HOLDING COMPANY, LLC,           Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SEVEN STARS INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H11 SILK CITY HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SILK CITY INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H30 SILVER MAPLE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         SILVER MAPLE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SILVERLEAF FUNDING, LLC,                        Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M41 SILVERTHORNE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SILVERTHORNE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M36 SPRINGLINE HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         SPRINGLINE INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         M49 SQUARETOP HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SQUARETOP INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H24 STAYMAN HOLDING COMPANY, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         STAYMAN INVESTMENTS, LLC,                       Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M86 STEELE HILL HOLDING COMPANY, LLC,           Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         STEELE HILL INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         M5 STEPSTONE HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         STEPSTONE INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H9 STRAWBERRY FIELDS HOLDING                    Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         STRAWBERRY FIELDS INVESTMENTS, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H36 STURMER PIPPIN HOLDING COMPANY,             Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         STURMER PIPPIN INVESTMENTS, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H21 SUMMERFREE HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SUMMERFREE INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         H47 SUMMIT CUT HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         SUMMIT CUT INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H65 THORNBURY FARM HOLDING                      Case No. 17-_____ (___)
         COMPANY, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         THORNBURY FARM INVESTMENTS, LLC,                Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M60 THUNDER BASIN HOLDING COMPANY,              Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         THUNDER BASIN INVESTMENTS, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M37 TOPCHORD HOLDING COMPANY, LLC,              Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         TOPCHORD INVESTMENTS, LLC,                      Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M48 VALLECITO HOLDING COMPANY, LLC,             Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         VALLECITO INVESTMENTS, LLC,                     Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         M74 VARGA HOLDING COMPANY, LLC,                 Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         VARGA INVESTMENTS, LLC,                         Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M50 WETTERHORN HOLDING COMPANY,                 Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WETTERHORN INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         H12 WHITE BIRCH HOLDING COMPANY, LLC,           Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         WHITE BIRCH INVESTMENTS, LLC,                   Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M43 WHITE DOME HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         WHITE DOME INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         WHITEACRE FUNDING, LLC,                         Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M44 WILDERNEST HOLDING COMPANY, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         WILDERNEST INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         H52 WILLOW GROVE HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WILLOW GROVE INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         M94 WINDING ROAD HOLDING COMPANY,               Case No. 17-_____ (___)
         LLC,

                             Debtor.

         Tax I.D. No. N/A


         In re:                                          Chapter 11

         WINDING ROAD INVESTMENTS, LLC,                  Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. N/A




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         In re:                                          Chapter 11

         WMF MANAGEMENT, LLC,                            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE CAPITAL INVESTMENTS, LLC,            Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE COMMERCIAL BRIDGE LOAN               Case No. 17-_____ (___)
         FUND 1, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE COMMERCIAL BRIDGE LOAN               Case No. 17-_____ (___)
         FUND 2, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE INVESTMENTS, LLC,                    Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX




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         In re:                                          Chapter 11

         WOODBRIDGE MEZZANINE FUND 1, LLC,               Case No. 17-_____ (___)

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE MORTGAGE INVESTMENT                  Case No. 17-_____ (___)
         FUND 1, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE MORTGAGE INVESTMENT                  Case No. 17-_____ (___)
         FUND 2, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE MORTGAGE INVESTMENT                  Case No. 17-_____ (___)
         FUND 3, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                          Chapter 11

         WOODBRIDGE MORTGAGE INVESTMENT                  Case No. 17-_____ (___)
         FUND 3A, LLC,

                             Debtor.

         Tax I.D. No. XX-XXXXXXX


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         In re:                                                               Chapter 11

         WOODBRIDGE MORTGAGE INVESTMENT                                       Case No. 17-_____ (___)
         FUND 4, LLC,

                                   Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                                               Chapter 11

         WOODBRIDGE STRUCTURED FUNDING, LLC,                                  Case No. 17-_____ (___)

                                   Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                                               Chapter 11

         H29 ZESTAR HOLDING COMPANY, LLC,                                     Case No. 17-_____ (___)

                                   Debtor.

         Tax I.D. No. XX-XXXXXXX


         In re:                                                               Chapter 11

         ZESTAR INVESTMENTS, LLC,                                             Case No. 17-_____ (___)

                                   Debtor.

         Tax I.D. No. XX-XXXXXXX                                              Ref. Docket No.



                              ORDER DIRECTING THE JOINT ADMINISTRATION
                                  OF THE DEBTORS’ CHAPTER 11 CASES

                  Upon the Debtors’ Motion for Entry of an Order Directing the Joint Administration of

         the Debtors’ Chapter 11 Cases (the “Motion”)1 filed by the above-captioned debtors and debtors

         in possession (collectively, the “Debtors”); and upon consideration of the First Day Declaration;


         1
                  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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         and this Court having found that it has jurisdiction to consider the Motion and the relief

         requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

         Reference from the United States District Court for the District of Delaware, dated February 29,

         2012; and this Court having found that venue of these cases and the Motion in this district is

         proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that this matter is a

         core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having determined that it may

         enter a final order consistent with Article III of the United States Constitution; and it appearing

         that notice of the Motion has been given as set forth in the Motion and that such notice is

         adequate and no other or further notice need be given; and a hearing having been held to

         consider the relief requested in the Motion; and upon the record of the hearing on the Motion and

         all of the proceedings had before this Court; and this Court having found and determined that the

         relief sought in the Motion is in the best interests of the Debtors, their estates, their creditors and

         all other parties in interest; and that the legal and factual bases set forth in the Motion establish

         just cause for the relief granted herein; and after due deliberation and sufficient cause appearing

         therefor,

                 IT IS HEREBY ORDERED THAT:

                 1.      The Motion is GRANTED as set forth herein.

                 2.      The Debtors’ Chapter 11 Cases are consolidated for procedural purposes only and

         shall be jointly administered by this Court.

                 3.      The Clerk of the Court shall maintain one file and one docket for all of the

         Chapter 11 Cases, which file and docket shall be the file and docket for the chapter 11 case of

         Woodbridge Group of Companies, LLC, Case No. 17-_____ (____).




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                  4.       All pleadings filed in the Chapter 11 Cases shall bear a consolidated caption in the

         following form:

                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                                   Chapter 11

         WOODBRIDGE GROUP OF COMPANIES, LLC,                                      Case No. 17-_____ (___)
         et al.,1
                                                                                  (Jointly Administered)
                                     Debtors.

         1
                  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
         The mailing address for Woodbridge Group of Companies, LLC is 14225 Ventura Boulevard #100, Sherman Oaks,
         California 91423. Due to the large number of debtors in these cases, for which the Debtors have requested joint
         administration, a complete list of the Debtors, the last four digits of their federal tax identification numbers, and their
         addresses are not provided herein. A complete list of such information may be obtained on the website of the
         Debtors’ proposed noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
         proposed undersigned counsel for the Debtors.

                  5.       The foregoing caption shall satisfy the requirements of section 342(c)(1) of the

         Bankruptcy Code.

                  6.       The Clerk of the Court shall make a docket entry in each Debtor’s chapter 11 case

         (except that of Woodbridge Group of Companies, LLC) substantially as follows:

                           An order has been entered in this case directing the procedural
                           consolidation and joint administration of the chapter 11 cases of
                           Woodbridge Group of Companies, LLC (3603); 215 North 12th
                           Street, LLC (3105); H31 Addison Park Holding Company, LLC
                           (0775); Addison Park Investments, LLC (5888); M11 Anchorpoint
                           Holding Company, LLC (1946); Anchorpoint Investments, LLC
                           (5530); H32 Arborvitae Holding Company, LLC (7525);
                           Arborvitae Investments, LLC (3426); M26 Archivolt Holding
                           Company, LLC (6436); Archivolt Investments, LLC (8542); H2
                           Arlington Ridge Holding Company, LLC (9930); Arlington Ridge
                           Investments, LLC (8879); M19 Arrowpoint Holding Company,
                           LLC (4378); Arrowpoint Investments, LLC (7069); H58 Baleroy
                           Holding Company, LLC (1881); Baleroy Investments, LLC
                           (9851); Basswood Holding, LLC (N/A); H13 Bay Village Holding
                           Company, LLC (8917); Bay Village Investments, LLC (3221);
                           H15 Bear Brook Holding Company, LLC (0030); Bear Brook
                           Investments, LLC (3387); H46 Beech Creek Holding Company,
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                 LLC (0050); Beech Creek Investments, LLC (0963); H70 Bishop
                 White Holding Company, LLC (6161); Bishop White Investments,
                 LLC (8784); H53 Black Bass Holding Company, LLC (3505);
                 Black Bass Investments, LLC (N/A); H28 Black Locust Holding
                 Company, LLC (6941); Black Locust Investments, LLC (3159);
                 H20 Bluff Point Holding Company, LLC (7342); Bluff Point
                 Investments, LLC (6406); H49 Bowman Holding Company, LLC
                 (1694); Bowman Investments, LLC (N/A); H40 Bramley Holding
                 Company, LLC (7162); Bramley Investments, LLC (9020); M27
                 Brise Soleil Holding Company, LLC (2821); Brise Soleil
                 Investments, LLC (9998); M28 Broadsands Holding Company,
                 LLC (9424); Broadsands Investments, LLC (N/A); M29
                 Brynderwen Holding Company, LLC (0685); Brynderwen
                 Investments, LLC (6305); M13 Cablestay Holding Company, LLC
                 (9809); Cablestay Investments, LLC (3442); M31 Cannington
                 Holding Company, LLC (0667); Cannington Investments, LLC
                 (4303); Carbondale Doocy, LLC (3616); Carbondale Glen Lot A-
                 5, LLC (0728); Carbondale Glen Lot D-22, LLC (1907);
                 Carbondale Glen Lot E-24, LLC (4987); Carbondale Glen Lot GV-
                 13, LLC (6075); Carbondale Glen Lot SD-23, LLC (4775);
                 Carbondale Glen Lot SD-14, LLC (5515); Carbondale Glen Mesa
                 Lot 19, LLC (6376); Carbondale Glen River Mesa, LLC (6926);
                 Carbondale Glen Sundance Ponds, LLC (0113); Carbondale Glen
                 Sweetgrass Vista, LLC (7510); Carbondale Spruce 101, LLC
                 (6126); Carbondale Sundance Lot 15, LLC (1131); Carbondale
                 Sundance Lot 16, LLC (0786); M53 Castle Pines Holding
                 Company, LLC (3398); Castle Pines Investments, LLC (4123);
                 M25 Centershot Holding Company, LLC (2128); Centershot
                 Investments, LLC (9391); M76 Chaplin Holding Company, LLC
                 (9267); Chaplin Investments, LLC (3215); M79 Chestnut
                 Company, LLC (0125); Chestnut Investments, LLC (9809); H5
                 Chestnut Ridge Holding Company, LLC (5244); Chestnut Ridge
                 Investments, LLC (3815); M45 Clover Basin Holding Company,
                 LLC (6677); Clover Basin Investments, LLC (8470); M51 Coffee
                 Creek Holding Company, LLC (2745); Coffee Creek Investments,
                 LLC (9365); H56 Craven Holding Company, LLC (1344); Craven
                 Investments, LLC (0994); M14 Crossbeam Holding Company,
                 LLC (3109); Crossbeam Investments, LLC (2940); M63 Crowfield
                 Holding Company, LLC (7092); Crowfield Investments, LLC
                 (4030); Crystal Valley Holdings, LLC (4942); M92 Crystal Woods
                 Holding Company, LLC (5806); Crystal Woods Investments, LLC
                 (N/A); Cuco Settlement, LLC (1418); M72 Daleville Holding
                 Company, LLC (8670); Daleville Investments, LLC (2915); M39
                 Derbyshire Holding Company, LLC (6509); Derbyshire
                 Investments, LLC (3735); H76 Diamond Cove Holding Company,
                 LLC (0315); Diamond Cove Investments, LLC (9809); H14

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                 Dixville Notch Holding Company, LLC (5633); Dixville Notch
                 Investments, LLC (0257); H7 Dogwood Valley Holding Company,
                 LLC (7002); Dogwood Valley Investments, LLC (5898); M32
                 Dollis Brook Holding Company, LLC (2873); Dollis Brook
                 Investments, LLC (4042); M9 Donnington Holding Company,
                 LLC (7114); Donnington Investments, LLC (2744); M15
                 Doubleleaf Holding Company, LLC (9523); Doubleleaf
                 Investments, LLC (7075); M22 Drawspan Holding Company, LLC
                 (0325); Drawspan Investments, LLC (5457); M71 Eldredge
                 Holding Company, LLC (6338); Eldredge Investment, LLC
                 (1579); H25 Elstar Holding Company, LLC (3243); Elstar
                 Investments, LLC (3731); H19 Emerald Lake Holding Company,
                 LLC (1570); Emerald Lake Investments, LLC (2276); M24
                 Fieldpoint Holding Company, LLC (6210); Fieldpoint
                 Investments, LLC (2405); M88 Franconia Notch Holding
                 Company, LLC (8184); Franconia Notch Investments, LLC
                 (7325); M10 Gateshead Holding Company, LLC (8924);
                 Gateshead Investments, LLC (1537); M85 Glenn Rich Holding
                 Company, LLC (7844); Glenn Rich Investments, LLC (7350);
                 M93 Goose Rocks Holding Company, LLC (5189); Goose Rocks
                 Investments, LLC (5453); M68 Goosebrook Holding Company,
                 LLC (9434); Goosebrook Investments, LLC (3737); H68 Graeme
                 Park Holding Company, LLC (2736); Graeme Park Investments,
                 LLC (8869); H61 Grand Midway Holding Company, LLC (4835);
                 Grand Midway Investments, LLC (1671); H26 Gravenstein
                 Holding Company, LLC (4323); Gravenstein Investments, LLC
                 (2195); H44 Green Gables Holding Company, LLC (2248); Green
                 Gables Investments, LLC (1347); H27 Grenadier Holding
                 Company, LLC (2590); Grenadier Investments, LLC (1772); H41
                 Grumblethorpe Holding Company, LLC (0106); Grumblethorpe
                 Investments, LLC (9318); M87 Hackmatack Hills Holding
                 Company, LLC (9583); Hackmatack Investments, LLC (8293);
                 M56 Haffenburg Holding Company, LLC (3780); Haffenburg
                 Investments, LLC (1472); H39 Haralson Holding Company, LLC
                 (0886); Haralson Investments, LLC (8946); M33 Harringworth
                 Holding Company, LLC (7830); Harringworth Investments, LLC
                 (5770); M80 Hazelpoint Holding Company, LLC (2703);
                 Hazelpoint Investments, LLC (3824); H66 Heilbron Manor
                 Holding Company, LLC (7245); Heilbron Manor Investments,
                 LLC (7818); Hollyline Holdings, LLC (4412); Hollyline Owners,
                 LLC (2556); H35 Hornbeam Holding Company, LLC (5290);
                 Hornbeam Investments, LLC (9532); H37 Idared Holding
                 Company, LLC (3378); Idared Investments, LLC (7643); H74
                 Imperial Aly Holding Company, LLC (7948); Imperial Aly
                 Investments, LLC (7940); M99 Ironsides Holding Company, LLC
                 (8261); Ironsides Investments, LLC (2351); H43 Lenni Heights

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                 Holding Company, LLC (7951); Lenni Heights Investments, LLC
                 (6691); H6 Lilac Meadow Holding Company, LLC (4921); Lilac
                 Meadow Investments, LLC (4000); M17 Lincolnshire Holding
                 Company, LLC (9895); Lincolnshire Investments, LLC (0533);
                 M54 Lonetree Holding Company, LLC (2356); Lonetree
                 Investments, LLC (5194); M40 Longbourn Holding Company,
                 LLC (3893); Longbourn Investments, LLC (2888); M73 Mason
                 Run Holding Company, LLC (5691); Mason Run Investments,
                 LLC (0644); H8 Melody Lane Holding Company, LLC (4011);
                 Melody Lane Investments, LLC (0252); M90 Merrimack Valley
                 Holding Company, LLC (0547); Merrimack Valley Investments,
                 LLC (7307); M61 Mineola Holding Company, LLC (8989);
                 Mineola Investments, LLC (9029); H16 Monadnock Holding
                 Company, LLC (3391); Monadnock Investments, LLC (3513);
                 H60 Moravian Holding Company LLC (3179); Moravian
                 Investments, LLC (6854); M67 Mountain Spring Holding
                 Company, LLC (5385); Mountain Spring Investments, LLC
                 (3294); M83 Mt. Holly Holding Company, LLC (7897); Mt. Holly
                 Investments, LLC (7337); H38 Mutsu Holding Company, LLC
                 (5889); Mutsu Investments, LLC (8020); M91 Newville Holding
                 Company, LLC (N/A); Newville Investments, LLC (N/A); H51
                 Old Carbon Holding Company, LLC (1911); Old Carbon
                 Investments, LLC (6858); H55 Old Maitland Holding Company,
                 LLC (3887); Old Maitland Investments, LLC (9114); M46 Owl
                 Ridge Holding Company, LLC (0546); Owl Ridge Investments,
                 LLC (8792); H22 Papirovka Holding Company, LLC (8821);
                 Papirovka Investments, LLC (5472); H4 Pawtuckaway Holding
                 Company, LLC (9299); Pawtuckaway Investments, LLC (3152);
                 M38 Pemberley Holding Company, LLC (1154); Pemberley
                 Investments, LLC (9040); H17 Pemigewasset Holding Company,
                 LLC (9026); Pemigewasset Investments, LLC (6827); M95
                 Pepperwood Holding Company, LLC (N/A); Pepperwood
                 Investments, LLC (N/A); M70 Pinney Holding Company, LLC
                 (1495); Pinney Investments, LLC (0132); H23 Pinova Holding
                 Company, LLC (0307); Pinova Investments, LLC (3468); M34
                 Quarterpost Holding Company, LLC (2780); Quarterpost
                 Investments, LLC (4802); M97 Red Woods Holding Company,
                 LLC (2190); Red Woods Investments, LLC (N/A); M57
                 Ridgecrest Holding Company, LLC (2759); Ridgecrest
                 Investments, LLC (9696); M75 Riley Creek Holding Company,
                 LLC (7226); Riley Creek Investments, LLC (0214); H59 Rising
                 Sun Holding Company, LLC (5554); Rising Sun Investments, LLC
                 (6846); M62 Sagebrook Holding Company, LLC (5717);
                 Sagebrook Investments, LLC (1464); H54 Seven Stars Holding
                 Company, LLC (8432); Seven Stars Investments, LLC (6994);
                 H11 Silk City Holding Company, LLC (5002); Silk City

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                 Investments, LLC (1465); H30 Silver Maple Holding Company,
                 LLC (9953); Silver Maple Investments, LLC (9699); Silverleaf
                 Funding, LLC (9877); M41 Silverthorne Holding Company, LLC
                 (6930); Silverthorne Investments, LLC (8840); M36 Springline
                 Holding Company, LLC (0908); Springline Investments, LLC
                 (N/A); M49 Squaretop Holding Company, LLC (4325); Squaretop
                 Investments, LLC (4466); H24 Stayman Holding Company, LLC
                 (0527); Stayman Investments, LLC (9090); M86 Steele Hill
                 Holding Company, LLC (8312); Steele Hill Investments, LLC
                 (N/A); M5 Stepstone Holding Company, LLC (1473); Stepstone
                 Investments, LLC (7231); H9 Strawberry Fields Holding
                 Company, LLC (4464); Strawberry Fields Investments, LLC
                 (0355); H36 Sturmer Pippin Holding Company, LLC (1256);
                 Sturmer Pippin Investments, LLC (6686); H21 Summerfree
                 Holding Company, LLC (4453); Summerfree Investments, LLC
                 (1496); H47 Summit Cut Holding Company, LLC (6912); Summit
                 Cut Investments, LLC (0876); H65 Thornbury Farm Holding
                 Company, LLC (7454); Thornbury Farm Investments, LLC
                 (3083); M60 Thunder Basin Holding Company, LLC (4560);
                 Thunder Basin Investments, LLC (7057); M37 Topchord Holding
                 Company, LLC (2131); Topchord Investments, LLC (4007); M48
                 Vallecito Holding Company, LLC (0739); Vallecito Investments,
                 LLC (8552); M74 Varga Holding Company, LLC (2322); Varga
                 Investments, LLC (7136); M50 Wetterhorn Holding Company,
                 LLC (9936); Wetterhorn Investments, LLC (N/A); H12 White
                 Birch Holding Company, LLC (9593); White Birch Investments,
                 LLC (1555); M43 White Dome Holding Company, LLC (N/A);
                 White Dome Investments, LLC (N/A); Whiteacre Funding, LLC
                 (2998); M44 Wildernest Holding Company, LLC (7546);
                 Wildernest Investments, LLC (1375); H52 Willow Grove Holding
                 Company, LLC (2112); Willow Grove Investments, LLC (6588);
                 M94 Winding Road Holding Company, LLC (N/A); Winding
                 Road Investments, LLC (N/A); WMF Management, LLC (9238);
                 Woodbridge Capital Investments, LLC (6081); Woodbridge
                 Commercial Bridge Loan Fund 1, LLC (8318); Woodbridge
                 Commercial Bridge Loan Fund 2, LLC (3649); Woodbridge
                 Investments, LLC (8557); Woodbridge Mezzanine Fund 1, LLC
                 (2753); Woodbridge Mortgage Investment Fund 1, LLC (0172);
                 Woodbridge Mortgage Investment Fund 2, LLC (7030);
                 Woodbridge Mortgage Investment Fund 3, LLC (9618);
                 Woodbridge Mortgage Investment Fund 3A, LLC (8525);
                 Woodbridge Mortgage Investment Fund 4, LLC (1203);
                 Woodbridge Structured Funding, LLC (3593); H29 Zestar Holding
                 Company, LLC (4093); Zestar Investments, LLC (3233). The
                 docket in the chapter 11 case of Woodbridge Group of


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                         Companies, LLC, Case No. 17-_____ (___), should be
                         consulted for all matters affecting this case.

                  7.     One consolidated docket, one file, and one consolidated service list shall be

         maintained for the Chapter 11 Cases by the Debtors and kept by the Clerk of the Court.

                  8.     The Debtors’ deviation from the normal course electronic filing procedures for

         the Petitions, which consisted of first filing paper copies and subsequently filing electronic

         copies, is hereby approved and Local Rule 5005-4 is hereby modified to the extent necessary

         pursuant to Local Rule 1001-1(c).

                  9.     The Debtors and the Clerk of the Court are authorized and empowered to take all

         actions necessary to implement the relief granted in this Order.

                  10.    Nothing contained in the Motion or this Order shall be deemed or construed as

         directing or otherwise effecting a substantive consolidation of the Chapter 11 Cases.

                  11.    The terms and conditions of this Order shall be immediately effective and

         enforceable upon its entry.

                  12.    This Court retains jurisdiction with respect to all matters arising from or related to

         the implementation of this Order.

         Dated:
                   Wilmington, Delaware


                                                 UNITED STATES BANKRUPTCY JUDGE




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